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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 P.J.E.S., A MINOR CHILD, by and through
 his father and NEXT FRIEND, Mario Escobar
 Francisco, on behalf of himself and others
 similarly situated,

                    Plaintiff,
                                                     Civil Docket No. 1:20-cv-02245-EGS-GMH
         v.

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,

                    Defendants.


                                               ORDER

       Upon consideration of the parties’ Joint Status Report, it is hereby ORDERED that the parties

shall file a joint status report on or before February 21, 2022.


                                                                                 Digitally signed by G.
                                                                                 Michael Harvey
                                                                                 Date: 2021.12.21
       Dated: Dec. 21, 2021                                        ___________________________
                                                                                 12:13:16 -05'00'
                                                                   G. MICHAEL HARVEY
                                                                   UNITED STATES
                                                                   MAGISTRATE JUDGE
